        Case 3:17-cv-00558-SRU Document 282 Filed 09/23/19 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

                                                     X
 ONTARIO TEACHERS’ PENSION PLAN                      : CIVIL ACTION NO.
 BOARD, Individually and as Lead Plaintiff on        : 3:17-cv-00558-SRU
 behalf of all others similarly situated; and        :
 ANCHORAGE POLICE & FIRE RETIREMENT                  :
 SYSTEM, Individually and as Named Plaintiff on      :
 behalf of all similarly-situated bond purchasers,   :
                                                     :
       Plaintiffs,                                   :
                                                     :
       v.                                            :
                                                     :
 TEVA PHARMACEUTICAL INDUSTRIES LTD.;                : SEPTEMBER 23, 2019
 EREZ VIGODMAN; EYAL DESHEH; ALLAN                   :
 OBERMAN; SIGURDUR OLAFSSON;                         :
 DEBORAH GRIFFIN; MAUREEN CAVANAUGH                  :
 AND TEVA PHARMACEUTICAL FINANCE                     :
 NETHERLANDS III B.V.,                               :
                                                     :
        Defendants.                                  :
                                                     X


      MOTION FOR ENTRY OF ORDER GRANTING MOTION TO INTERVENE
         FOR LIMITED PURPOSE OF TOLLING STATUTE OF REPOSE

      Intervenor-plaintiff California State Teachers’ Retirement System (“CalSTRS”)

respectfully moves for entry of an Order in the form attached as Exhibit A granting

CalSTRS’ Motion to Intervene for the Limited Purpose Of Tolling the Statute of Repose

dated February 5, 2019 [Docket No. 259].

      On September 17, 2019, the Court granted the Motion to Intervene for Limited

Purpose in a summary ECF entry [Docket No. 281] with no document attached.

      CalSTRS requests the Court enter the attached Order to ensure that CalSTRS is

deemed to have intervened as of February 5, 2019, thereby preserving as of that date
        Case 3:17-cv-00558-SRU Document 282 Filed 09/23/19 Page 2 of 2



its claims with respect to the statutes of repose that expired thereafter and preserving

CalSTRS’ status as a passive class member-intervenor for all other purposes.

                                   INTERVENOR-PLAINTIFF CALIFORNIA STATE
                                   TEACHERS’ RETIREMENT SYSTEM,

                                   By:    /s/ Irwin B. Schwartz


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